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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

ALEX YOUNG,

                        Plaintiff,

                        V.                          Civil Action No. 14-1203 (BAH)

RICHARD SARLES, General Manager,
Washington Metropolitan Transit Authority,


                        Defendant.


                         ORDER GRANTING INJUNCTIVE RELIEF

        Upon consideration of the plaintiffs Motion for Preliminary Injunction, ECF No. 2, the

related legal memoranda in support and in opposition, the arguments presented at the August 14,

2014 hearing on the plaintiffs motion, and the entire record herein, for the reasons stated at the

August 14, 2014 hearing, it is hereby

        ORDERED that the plaintiffs Motion for a Preliminary Injunction, ECF No. 2, is

GRANTED; and it is further

        ORDERED that the defendant, his officers, agents, servants, employees, attorneys, and

other persons who are in active concert or participation with the defendant, their officers, agents,

servants, employees, and attorneys are hereby ENJOINED from enforcing§ 100.lO(d) of the

WMATA Use Regulations, which prohibits individuals from engaging in commercial activity on

WMATA property designated as a "free" area, under WMATA Use Regulation§ 100.lO(b), as

applied to the plaintiffs "busking" activity; and it is further

       ORDERED that this injunction shall not apply to enforcement of the WMATA Use

Regulation requirement that such activity take place at a distance greater than fifteen (15) feet
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from any escalator, stairwell, faregate, mezzanine gate, kiosk, or fare card machine; and it is

further

          ORDERED that this Preliminary Injunction shall take effect immediately and shall

remain in effect pending final resolution ofthis action or further order ofthis Court; and it is

further

          ORDERED that, since the Court finds a bond unnecessary "to pay the costs and damages

sustained by" the defendant ifhe is later found to have been wrongfully enjoined, see FED. R.

CIV. P. 65(c), no bond shall be required ofthe plaintiff; and it is further

          ORDERED that the parties submit, by August 22, 2014, the Joint Meet and Confer

report required by Local Civil Rule 16.3 and this Court's Standing Order ,r 3, ECF No. 4.

          SO ORDERED.

          Date: August 14, 2014                                         Digitally signed by Beryl A.
                                                                        Howell
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                                                       BERYL A. HOWELL
                                                       United States District Judge




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